                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

In re:                                               )
                                                     )             Chapter 11
SARAI SERVICES GROUP,           INC.,1               )
                                                     )             Case No. 18-82948-CRJ-11
                      Debtor.                        )             (Jointly Administered)

    CENTERSTATE BANK’S OBJECTION TO DEBTORS’ MOTION TO PROVIDE
                 ADEQUATE PROTECTION PAYMENTS

         COMES NOW CenterState Bank, N.A., f/k/a National Bank of Commerce

(“CenterState”), by and through its undersigned counsel, and hereby objects (this “Objection”) to

CM Holding, Inc.’s (“CM Holding”) Third and Final Motion to Determine Adequate Protection

to Secured Creditor (the “Adequate Protection Motion”) [Doc. No. 299]. In support of its

Objection, CenterState shows the Court as follows:

         1.   This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This

matter is a core proceeding pursuant to 28 U.S.C. § 157(b).

         2.   Venue is proper in this Court pursuant to 28 U.S.C. § 1409.

         3.   On October 3, 2018 (the “Petition Date”), the Debtors commenced with this Court

four voluntary cases under Chapter 11 of Title 11, United States Code (the “Bankruptcy Code”).

         4.   The Debtors continue to be authorized to operate their businesses as Debtors-in-

possession pursuant to 11 U.S.C. §§ 1107(a) and 1108. No trustee or examiner has been

appointed in these Chapter 11 cases, and as of the date hereof, no creditors’ committee has been

appointed.



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         In addition to Sarai Services Group, Inc., the Debtors include the following: SSGWW
JV LLC, Case No. 18-82949-CRJ-11; Sarai Investment Corporation, Case No. 18-82950-CRJ-
11; and CM Holding, Inc., Case No. 18-82951-CRJ-11.




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       5.        By prior orders [Doc. No. 165 & 256], the Debtors obtained authorization from

the Court to pay $4,500 per month in adequate protection payments to CenterState Bank related

to CenterState’s interest in the CM Holding’s real property. These payments covered the time

period through September 14, 2019. See id.

       6.        On September 11, 2019, the Debtors filed an additional Adequate Protection

Motion asking the Court to determine that $4,500 per month adequately protected the interests of

CenterState in the real property of CM Holdings and requesting that the time period for adequate

protection be extended through December 14, 2019. [Doc. No. 299].

       7.        During the pendency of Debtors’ bankruptcy cases and through the date of the

filing of this Objection, the Debtors and CenterState have been actively involved in negotiations

regarding, among other things, CenterState’s real property collateral currently owned by CM

Holding. Recently, it appears that negotiations have broken down between the parties and each

party is moving toward protecting its respective rights.

       8.        To that end, CenterState is currently preparing a motion for relief from the

protections of the automatic stay in order to realize the value of CM Holdings’ real property and

apply the same to the debt owed to CenterState. As such, CenterState does not believe that

adequate protection payments are proper at this time.

       9.        Additionally, if it is determined that adequate protection payments are proper at

this time, CenterState objects to the amount of $4,500 as adequately protecting its interest in the

real property.

                                  RESERVATION OF RIGHTS

       CenterState hereby reserves all rights and claims with respect to all issues pertaining to

the proposed adequate protection contemplated by the Adequate Protection Motion, as well as

any and all interests and rights it has with respect to the CM Holding’s real property. Nothing

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included herein is intended by CenterState to be a waiver of any rights currently held by

CenterState.

        WHEREFORE, premises considered, CenterState respectfully requests that this Court

enter an Order:

        (i)    denying the Debtors’ Adequate Protection Motion; and

        (ii)   granting such other, further and different relief to which CenterState may be

entitled.

Respectfully submitted this 17th day of September 2019.

                                                  /s/ James H. Haithcock, III
                                                  Joe A. Joseph
                                                  James H. Haithcock, III

                                                  Attorneys for the CENTER STATE BANK, F/K/A
                                                  NATIONAL BANK OF COMMERCE

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                                CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document has been served by Notice of Electronic
Filing, or, if the party served does not participate in Notice of Electronic Filing, by U.S. First
Class Mail, on this the 17th day of September 2019

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                                             /s/ James H. Haithcock, III
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